
117 West 142, L.L.C., Petitioner-Landlord-Appellant,
againstStephanie Villanueva, Respondent-Tenant-Respondent.



Landlord, as limited by its briefs, appeals from (1) an order of the Civil Court of the City of New York, New York County (Anne Katz, J.), dated May 26, 2015, and two orders of the same court (Maria Milin, J.), dated, respectively, August 24, 2015 and October 15, 2015, which conditionally stayed execution of the warrant of eviction in a nonpayment summary proceeding, and (2) an order (same court and Judge), dated October 30, 2015, which permanently stayed execution of the warrant upon payment of all rent arrears.




Per Curiam.
Order (Anne Katz, J.), dated May 26, 2015, and orders (Maria Milin, J.), dated, respectively, August 24, 2015, October 15, 2015 and October 30, 2015, affirmed, with one bill of $10 costs.
Under the particular facts and circumstances of record in this nonpayment summary proceeding, Civil Court providently exercised its discretion in permanently staying execution of the warrant of eviction upon the rent stabilized tenant's tender of outstanding arrears, while at the same time awarding landlord legal fees. Good cause sufficient to warrant the requested relief was provided by several factors, including the indigent tenant's prompt and diligent efforts to obtain the funds, the bureaucratic delays in obtaining governmental and charitable grants, as well as the delay caused by landlord, who initially entered judgment in an amount greater than the arrears actually owed (see Lafayette Boynton Hsg. Corp. v Pickett, 135 AD3d 518 [2016]; Harvey 1390 LLC v Bodenheim, 96 AD3d 664 [2012]; 2246 Holding Corp. v Nolasco, 52 AD3d 377 [2008]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.



I concur I concur I concur
Decision Date: May 25, 2016










